Case 1:18-cv-22922-KMM Document 93 Entered on FLSD Docket 01/17/2020 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                            CASE NO. 1:18-cv-22922-MOORE/SIMONTON


  GERALDINE BUENAVENTURA,
  as personal representative of the
  estate of BEN BUENAVENTURA,

           Plaintiff,

  v.

  NCL (BAHAMAS) LTD.,
  D-I DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC., and
  D-I DAVIT INTERNATIONAL-HISCHE
  GMBH,

           Defendants.
                                           /

                PLAINTIFF’S UNOPPOSED RENEWED MOTION FOR REMAND

           COMES NOW, the Plaintiff, Geraldine Buenaventura, as personal representative of the

  Estate of Ben Buenaventura, by and through her undersigned counsel and hereby files her

  Unopposed Renewed Motion for Remand, and in support thereof states:

      1.   This matter arises from the wrongful death of NCL (Bahamas) Ltd.’s (“NCL”)

           crewmember, decedent Ben Buenaventura who fell six stories into the water during a life

           boat drill when a securing wire in the lifeboat system snapped and/or broke. After 40 days

           in ICU, Ben Buenaventura succumbed to his injuries.

      2.   Plaintiff brought a wrongful death action in state court against Decedent’s employer and

           shipowner NCL, D-1 Davit International, Inc. the davit manufacturer1, and Hatecke Service



  1
      Defendant D-1 Davit International, Inc. was voluntarily dismissed. [D.E. 92].
            L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 93 Entered on FLSD Docket 01/17/2020 Page 2 of 5




           USA, LLC2, the company that inspected, maintained and served the ship’s davits.

      3.   On July 19, 2018, NCL removed this case to federal court pursuant to 9 U.S.C. §205 on

           the sole ground that Plaintiff is required to arbitrate this matter pursuant to the Decedent’s

           employment contract. [D.E. 1] No other grounds for removal were raised by NCL or any

           other named Defendant.

      4.   The Plaintiff subsequently filed an Amended Complaint adding D-I Davit International-

           Hische Gmbh as a named Defendant. [D.E. 31].

      5.   On February 8, 2019, this matter was stayed and administratively closed pending resolution

           of the arbitration in the Philippines between the Plaintiff and NCL.     [D.E. 78]

      6.   On January 7, 2020, December 24, 2019, the Plaintiff amicably resolved her claim with

           NCL. Plaintiff’ claims against Defendant D-I Davit International-Hische Gmbh remains

           pending. [D.E. 88]

      7.   With the settlement of the claim between Plaintiff and NCL, this Court no longer has

           subject matter jurisdiction to hear this case as the grounds for removal, 9 U.S.C. § 205, no

           longer exist and are not applicable to the remaining Defendants.

                                           Memorandum of Law

           Since removal implicates significant federalism concerns, courts are obligated to construe

  removal jurisdiction strictly. Lontz v. Tharp, 413 F.3d 435, 440 (4th Cir. 2005). All doubts about

  the propriety of removal should be resolved in favor of retaining state court jurisdiction. See

  Hartley v. CSX Transp., Inc., 187 F.3d 422, 425 (4th Cir. 1999); In re Hot-Hed Inc., 477 F.3d 320,

  323 (5th Cir. 2007).




  2
      Defendant Hatecke Service USA, LLC was voluntarily dismissed. [D.E. 75].
                                                      -2-
            L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 93 Entered on FLSD Docket 01/17/2020 Page 3 of 5




             Here, removal was based solely upon 9 U.S.C. § 205. The existence of the issue of

  enforcing an arbitration agreement is intrinsic to the federal court’s subject matter jurisdiction.

  Given the granting of NCL’s Motion to Compel Arbitration, the original grounds for removal are

  no longer applicable, accordingly the federal court no longer has subject matter jurisdiction. See

  In re Loudermilch, 158 F.3d 1143, 1146 (11th Cir. 1998) (“[A]bsent the federal question of [the

  Convention], no subject matter jurisdiction existed,” and therefore “[r]ejection of [NCL’s

  arbitration agreement] argument was merely a step towards the conclusion that the court lacked

  jurisdiction.”).

             In the present case, this matter should properly be remanded because the basis on which

  the matter was removed, 9 U.S.C. § 205, is no longer applicable, leaving this Court without

  jurisdiction. As there are no other proper grounds for removal, this matter should properly be

  remanded3. An identical Motion for Remand was granted in the companion case entitled Carpio

  v. NCL (Bahamas) Ltd., et.al., case no. 18-22923-CIV-DPG on April 4, 2019. (Exhibit 1 - Order

  granting Plaintiff’s Renewed Motion for Remand [D.E. 61]).

             WHEREFORE, the Plaintiff, Geraldine Buenaventura, as personal representative of the

  Estate of Ben Buenaventura, respectfully moves this Court for entry of an Order remanding this

  matter back to 11th Circuit Court in and for Miami Dade County, Florida.

                                Certification of Compliance with Local Rules 7.1

             Undersigned counsel hereby certifies that she has conferred with counsel for the Defendant

  in accordance with S.D. Fla. Local Rule 7.1 (A)(3) in a good faith effort to resolve the issues raised

  by this Motion prior to filing. Counsel for Defendant does not object to the relief requested.

  Dated: January 17, 2020.



  3
      Any further grounds for removal which may have possibly available are now time-barred.

                                                          -3-
             L I P C O N ,    M A R G U L I E S ,     A L S I N A    &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 93 Entered on FLSD Docket 01/17/2020 Page 4 of 5




                                                 Respectfully submitted,

                                                         LIPCON, MARGULIES,
                                                         ALSINA & WINKLEMAN, P.A.
                                                         Attorneys for Plaintiff
                                                         One Biscayne Tower, Suite 1776
                                                         2 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone No.: (305) 373-3016
                                                         Facsimile No.: (305) 373-6204

                                                    By: /s/ Carol L. Finklehoffe
                                                        CAROL L. FINKLEOFFE
                                                        Florida Bar No. 0015903
                                                        cfinklehoffe@lipcon.com


                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 17, 2020, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to electronically receive Notices of Electronic Filing.

                                                    By: /s/ Carol L. Finklehoffe
                                                        CAROL L. FINKLEOFFE

                                         SERVICE LIST
                             Buenaventura v. NCL (Bahamas) Ltd. et. al.
                                   case no.: 18-cv-22922-KMM

   Michael Winkleman, Esq.                            Curtis Mase, Esq.
   Florida Bar No.: 36719                             Florida Bar No.: 73928
   mwinkleman@lipcon.com                              cmase@maselaw.com
   Carol L. Finklehoffe, Esq.                         kfehr@maselaw.com
   Florida Bar No.: 0015903                           Scott P. Mebane, Esq.
   cfinklehoffe@lipcon.com                            Florida Bar No.: 273030
   LIPCON, MARGULIES,                                 smebane@maselaw.com
   ALSINA & WINKLEMAN, P.A.                           ctoth@maselaw.com
   One Biscayne Tower, Suite 1776                     receptionist@maselaw.com
   2 South Biscayne Boulevard                         MASE, MEBANE & BRIGGS
   Miami, Florida 33131                               2601 S. Bayshore, Drive, Suite 800
   Telephone No.: (305) 373-3016                      Miami, Florida 33133
   Facsimile No.: (305) 373-6204                      Telephone: (305) 377-3770


                                                    -4-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 93 Entered on FLSD Docket 01/17/2020 Page 5 of 5




   Attorneys for Plaintiff                            Facsimile: (305) 377-0800
                                                      Attorneys for Defendant NCL (Bahamas) Ltd.




   Anthony P. Strasius, Esq.
   Florida Bar No.: 988715
   Anthony.strasius@wilsonelser.com
   Steven C. Jones, Esq.
   Florida Bar No.: 107516
   Steven.jones@wilsonelser.com
   Wilson, Elser, Moskowitz,
   Edelman & Dicker, LLP
   100 Southeast Second Street, Suite 3800
   Miami, Florida 33131
   Tel: (305) 374-4400
   Fax: (305) 579-0261
   Attorneys for Defendant D-1 Davit
   International, Inc. and D-I Davit
   International-Hische Gmbh




                                                    -5-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
